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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

    MORGAN A. TAYLOR, on behalf of *
    herself and all others similarly *
    situated,                        *
                                     *
           Plaintiff,                *          Case No. 1:17-cv-00599-AT
                                     *
    v.                               *
                                     *
    PROFESSIONAL PLACEMENT           *
    SERVICES, LLC and KOHL’S         *
    DEPARTMENT STORES, INC.,         *
                                     *
           Defendants.               *
                                     *

                FINAL APPROVAL ORDER AND JUDGMENT

        This matter coming to be heard on Plaintiff Morgan A. Taylor’s unopposed

motion for final approval of the Parties’ class action Settlement (“Motion”), due

and adequate notice having been given to the Class, 1 and the Court having

considered all papers filed and proceedings in this matter, it is HEREBY

ORDERED, ADJUDGED and DECREED as follows:




1
       Unless otherwise defined herein, all capitalized terms have the same
definition as set forth in the Settlement Agreement (ECF 59-1).
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              1.    This Court has jurisdiction over the subject matter of the Action

and personal jurisdiction over all parties to the Action, including all Class

Members.

              2.    The Court preliminarily approved the Settlement Agreement by

Preliminary Approval Order dated March 5, 2019, and notice was given to all

members of the Class under the terms of the Preliminary Approval Order.

              3.    The Court has read and considered the papers filed in support of

the Motion, including the Settlement Agreement and the exhibits thereto,

memoranda and arguments submitted, and supporting declarations. The Court has

also read and considered any written objections filed with the Clerk of the Court by

Settlement Class Members. The Court held a hearing on August 29, 2019, at which

time the Parties and all other interested persons were afforded the opportunity to be

heard in support of and in opposition to the Settlement. Furthermore, the Court

finds that notice under the Class Action Fairness Act was effectuated on January

18, 2019, and that ninety (90) days has passed without comment or objection from

any governmental entity. The Court has received 0 objections regarding this

Settlement.

              4.    Based on the papers filed with the Court and the presentations

made to the Court by the Parties and other interested persons at the hearing, the

Court now gives final approval to the Settlement and finds that the Settlement is

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fair, adequate, reasonable, and in the best interests of the Class. Specifically, the

complex legal and factual posture of the Action, and the fact that the Settlement is

the result of arms’ length negotiations support this finding.

             5.     Under Federal Rule of Civil Procedure 23(c), the Court

certifies, for settlement purposes only, the following Class:

      The persons to whom a voicemail message was successfully
      transmitted to such person’s cellular telephone voicemail by
      Professional Placement Services, LLC through use of VoApps, where
      there was a coding change from “C to B” as to the cellular telephone
      number, where any such successful transmission was made between
      November 18, 2012 through and including May 30, 2018, limited to
      subscribers or regular users of the telephone numbers on the Class List
      during that period.

The Court is informed that there are as many as 19,134 unique cellular telephones

that PPS contacted as described above during this period.

             6.     Under Federal Rule of Civil Procedure 23, Plaintiff Morgan A.

Taylor is hereby appointed as class representative and Burke Law Offices, LLC

and Skaar & Feagle, LLP are appointed as Class Counsel.

             7.     With respect to the Class, this Court finds, for settlement

purposes only, that: (a) the Class as defined above is so numerous that joinder of

all members is impracticable; (b) there are questions of law or fact common to the

Class; (c) the claims of the class representative, identified above, are typical of the

claims of the Class; (d) the class representative will fairly and adequately protect

the interests of the Settlement Class; (e) the questions of law or fact common to the
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members of the Settlement Class predominate over the questions affecting only

individual members, and (f) certification of the Class is superior to other available

methods for the fair and efficient adjudication of the controversy. The Court

further finds that: (A) the members of the Class have a limited interest in

individually prosecuting the claims at issue; (B) that no other litigation commenced

regarding the claims at issue by members of the Class warrants disapproval of this

Settlement; (C) it is desirable to concentrate the claims in this forum; and (D) it is

unlikely that there will be difficulties encountered in administering this Settlement.

             8.     The Court has determined that the Class Notice given to the

Class Members, in accordance with the Preliminary Approval Order, fully and

accurately informed members of the Class of all material elements of the

Settlement and constituted the best notice practicable under the circumstances, and

fully satisfied the requirements of Due Process, Federal Rule of Civil Procedure

23, and all applicable law.

             9.     Without objection from the parties, the Court finds that

claimants who were mailed postcard notices based on Defendants’ documentation

of calling phone numbers associated with the claimants’ addresses shall be deemed

valid, regardless of whether the correct phone number was placed on the claim.

Claimants whose claims were postmarked on or before August 29, 2019, are to be

considered timely. The parties are ordered to complete the deficiency notice

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process as to claimants who did not receive mailed notice. Deficiency notices are

to be sent by September 4, 2019, and responses completed by Thursday September

19, 2019.

             10.    The Court finds that PPS properly and timely notified the

appropriate state and federal officials of the Settlement Agreement under the Class

Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. § 1715.

             11.    The persons who made timely and valid requests for exclusion

are excluded from the Class and are not bound by this Final Approval Order and

Judgment. The Court is informed – and finds – that no class member has requested

exclusion from the class.

             12.    The Court orders the parties to the Settlement Agreement to

perform their obligations thereunder. The Settlement Agreement shall be deemed

incorporated herein as if explicitly set forth and shall have the full force of an order

of this Court.

             13.    The Court dismisses this Action with prejudice and without

costs (except as otherwise provided herein and in the Settlement Agreement) as to

Plaintiff and all Class Members. The Court adjudges that the released claims

described in the Settlement Agreement are released against the Released Parties.




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             14.   The Court adjudges that Plaintiff and all Class Members shall

be deemed to have fully, finally and forever released and relinquished their claims

against the Released Parties, as specified in the Settlement Agreement.

             15.   The Court adjudges that after Final Approval, the above-

described release and the Settlement Agreement will be binding on, and have res

judicata and preclusive effect in all pending and future lawsuits or other

proceedings maintained by or on behalf of, Plaintiff and all other Class Members.

The Released Parties may file the Settlement Agreement and/or this Final

Approval Order and Judgment in any action or proceeding that may be brought

against them in order to support a defense or counterclaim based on principles of

res judicata, collateral estoppel, release, good faith settlement, judgment bar or

reduction, or any other theory of claim preclusion or issue preclusion or similar

defense or counterclaim.

             16.   Without affecting the finality of this Final Approval Order and

Judgment in any way, the Court retains exclusive jurisdiction over: (a)

implementation and enforcement of the Settlement Agreement until the final

judgment contemplated hereby has become effective and each and every act agreed

to be performed by the parties hereto pursuant to the Settlement Agreement have

been performed; (b) any other action necessary to conclude the Settlement and to

administer, effectuate, interpret and monitor compliance with the provisions of the

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Settlement Agreement; and (c) all parties to this Action and the Class Members for

the purpose of implementing and enforcing the Settlement Agreement, including

the bar order set forth in paragraph 14 above, and resolving all disputes arising

from claims for payment under the Settlement.

             17.   The Court approves payment of attorneys’ fees of $566,666.66

and costs and expenses of $7,777.61 to Class Counsel. This amount shall be paid

from the Settlement Benefits in accordance with the terms of the Settlement

Agreement. The Court, having considered the materials submitted by Plaintiff’s

counsel in support of final approval of the Settlement and their request for

attorneys’ fees, costs, and expenses and in response to the filed objections thereto,

finds the award of attorneys’ fees, costs, and expenses appropriate and reasonable

for the following reasons: First, the Court finds that the Settlement provides

substantial benefits to the Settlement Class. Second, the Court finds the payment

fair and reasonable in light of the substantial work performed by Plaintiff’s

counsel. Third, the Court concludes that the Settlement was negotiated at arms’

length and without collusion, and that negotiation of the attorneys’ fees followed

agreement on the settlement benefits for Class Members. Finally, the Court notes

that the Class Notice specifically and clearly advised the Class that Class Counsel

would seek the award.



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             18.    The Court approves the incentive fee payment of $15,000 for

Morgan A. Taylor and specifically finds such amount to be reasonable in light of

the service performed by Plaintiff for the Class. This amount shall be paid from the

Settlement Benefits in accordance with the terms of the Settlement Agreement.

             19.    Neither this Final Approval Order and Judgment nor the

Settlement Agreement shall be construed or used as an admission or concession by

or against either PPS or any of the Released Parties of any fault, omission, liability,

or wrongdoing, or the validity of any released claims. This Final Approval Order

and Judgment is not a finding of the validity or invalidity of any claims in this

Action or a determination of any wrongdoing by PPS or any of the Released

Parties. The final approval of the Settlement does not constitute any opinion,

position, or determination of this Court, one way or the other, as to the merits of

the claims and defenses of Plaintiff, the Class Members, or Defendants.

             20.    The Court is informed – and finds – that there were no

objections to the settlement at all. The Court finds that no just reason exists for

delay in entering this Final Approval Order and Judgment. Accordingly, the Clerk

is hereby directed forthwith to enter this Final Approval Order and Judgment.


DATED: August 30, 2019
                                        United States District Judge



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